Case 2:05-cr-20129-SH|\/| Document 31 Filed 08/09/05 Page 1 of 2 Page|D 29

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UNITED sTATEs 0F AMERICA, WAJ OF TN. M§Mpmg
Plaintiff,
§
vs. Cr. No. 05-20129-Ma g
MICHAEL ELY, mg
Defendant. '

 

 

 

ORDER GRANTING DEFENDANT’S
MOTION TO CONTINUE TRIAL

 

For good cause shown, the trial in this matter is hereby CONTINUED to

?'é-'.QS' Withareportof gauge §§ £-&12,§ at é:zgmoo .

Time is excluded under the Speedy Trial Act for Defenda.nt’s request for additional time

 

to prepare.

It is so ORDERED, this the g day of August, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CR-20129 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

